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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

Case No.: [To be assigned]

COMPLAINT

DeWitt Gilmore, Plaintiff
v.
Sean Combs, a/k/a “Puff Daddy,” “P. Diddy,” “Diddy,” Bad Boy
Entertainment, Inc., and af liated entities, Defendants

Plaintiff DeWitt Gilmore (“Plaintiff”), by and through this complaint, states the
following against Defendants Sean Combs (also known as “Puff Daddy,” “P.
Diddy,” and “Diddy”), Bad Boy Entertainment, Inc., and any af liated companies
or entities responsible for employing the bodyguards or associates involved in the
incident described below:



I. JURISDICTION AND VENUE

  1.        This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1332
            (diversity jurisdiction), as the matter in controversy exceeds $75,000, and
            the parties are citizens of different states. Plaintiff, DeWitt Gilmore,
            resides in Georgia, while Defendants are based in New York, New York.

  2.        Venue is appropriate in the Southern District of New York as the events
            giving rise to this claim occurred within this District, speci cally in New
            York City.



II. PARTIES

  3.        Plaintiff: DeWitt Gilmore (“Plaintiff”), a resident of Atlanta, Georgia, is
            an author, entrepreneur, and public gure who suffered personal and
            emotional injuries due to the actions of Defendants.

  4.        Defendants:

              ◦    Sean Combs (also known as “Puff Daddy,” “P. Diddy,” and
                   “Diddy”): An entertainer, entrepreneur, and public gure operating
                   from New York, New York. At all relevant times, Mr. Combs acted
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                           individually and through his af liates, including bodyguards and
                           associates involved in the incident described.
                      ◦    Bad Boy Entertainment, Inc. and related entities: Business
                           entities operating under the direction of Mr. Combs that employed
                           or contracted with the bodyguards and associates involved in the
                           incident described in this complaint.
                      ◦    Af liated Entities: Includes any subsidiaries, entities, or
                           individuals af liated with Bad Boy Entertainment, Inc., involved
                           in the employment or contract of associates and bodyguards who
                           participated in the attack, including those operating under Mr.
                           Combs' direction and control.


          III. FACTUAL ALLEGATIONS

           5.   On a night in the summer of 1996, Plaintiff DeWitt Gilmore was assaulted
                by Defendant Sean Combs and a group of his associates, including his
                bodyguard, on a street in New York City after exiting a club.

           6.   Plaintiff, in the company of his friends Lance Calfe and Rico, approached
                his vehicle, an Isuzu Trooper, parked near the club. As Plaintiff and his
                friends prepared to leave, Defendant Combs and his associates pulled up
                in a gold convertible, with Defendant Combs positioned in the passenger
                seat and his bodyguard driving.

           7.   Defendant Combs initiated a verbal confrontation with Plaintiff, taunting
                him with derogatory language and escalating the situation with threats of
                violence. His words, including “What’s up, bitch?” were intended to
                provoke and intimidate Plaintiff.

           8.   The encounter rapidly intensi ed as Defendant Combs’ bodyguard and
                additional vehicles carrying armed associates joined to form an entourage,
                surrounding Plaintiff’s vehicle. Defendant Combs and his associates
                blocked Plaintiff’s car, creating a sense of immediate danger.

           9.   Defendant Combs’ associates brandished rearms, and shots were red.
                Fearing for his life, Plaintiff Gilmore, with Lance Calfe and Rico as
                witnesses, were aggressively chased through the dark city streets and
                managed to evade the scene by accelerating through traf c, narrowly
                escaping a potentially deadly ambush.

           10. As a result of this incident, Plaintiff suffered signi cant emotional and
               psychological distress, a fear of retaliation, and harm to his reputation. He
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                was unable to bring this case forward at the time due to Defendant Combs’
                considerable in uence and power in the entertainment industry, as well as
                his fear of continued harassment and possible violent retribution.

           11. The plaintiff, Gilmore, recently reconnected with a key witness, Lance
               Calfe, after years of no contact. This reconnection brought forth new
               insight and testimonial evidence surrounding the events of that night,
               underscoring the intensity of the encounter with Sean Combs. Calfe’s
               account serves as recently discovered evidence, signi cant enough to
               reopen the case beyond the usual statute of limitations due to the unique
               circumstances of intimidation and safety concerns that delayed earlier
               action. Mr. Calfe’s statement, obtained in September, 2024, corroborates
               Plaintiff’s experience of the attack and identi es Defendant Combs as a
               primary instigator, providing essential new information to this ling.



          IV. CLAIMS FOR RELIEF

          COUNT ONE: ASSAULT

           12. Plaintiff repeats and re-alleges each allegation as if fully set forth herein.

           13. Defendant Combs and his associates, through threats and displays of
               violence, willfully placed Plaintiff in imminent fear of bodily harm,
               leading to signi cant emotional distress and mental anguish.

           14. Defendants’ actions constituted assault under New York law, and Plaintiff
               is entitled to damages for the fear and emotional trauma suffered as a
               result.

          COUNT TWO: BATTERY

           15. Plaintiff repeats and re-alleges each allegation as if fully set forth herein.

           16. Defendants Combs and his associates intentionally engaged in harmful
               and offensive contact with Plaintiff by surrounding him with an armed
               entourage, ring a weapon in his presence, and creating a physically
               dangerous situation.

           17. Plaintiff sustained damages, including physical and emotional suffering, as
               a direct and proximate result of Defendants’ actions.
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COUNT THREE: INTENTIONAL INFLICTION OF EMOTIONAL
DISTRESS

      18. Plaintiff repeats and re-alleges each allegation as if fully set forth herein.

      19. Defendants’ actions, including threats, the brandishing of rearms, and a
          deliberate attempt to intimidate and harm Plaintiff, were extreme,
          outrageous, and intended to in ict severe emotional distress.

      20. Plaintiff suffered signi cant emotional and psychological harm as a direct
          result of Defendants’ conduct, entitling him to compensatory damages.



V. DAMAGES AND RELIEF SOUGHT

WHEREFORE, Plaintiff respectfully requests judgment against Defendants as
follows:

      1.   Compensatory damages in the amount of $5,000,000 for emotional
           distress, physical harm, lost opportunities, and reputational damage.

      2.   Punitive damages as determined by the court to deter future misconduct by
           Defendants and similar parties.

      3.   Costs of this action, including reasonable attorney’s fees, should Plaintiff
           retain legal representation.

      4.   Any other relief the Court deems just and proper.


DEMAND FOR JURY TRIAL

Plaintiff hereby demands a trial by jury on all issues so triable.


DATED: Sunday, November 3rd, 2024
Respectfully Submitted,

DeWitt Gilmore
237 East Simon Ter, NW
Atlanta, GA 30318
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